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UNIT§D srA TES DlSTRICT Co URT ‘/Eig _
W§STERN DISTRICT 0F TENN§SS§§" O° 66 `\ ~'~i?;”
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WVC’<'S,}' /R
`/?»"/
JERRALE MARTIN, JUDGMENT IN A CIVIL CA“§E
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:02-1204-B

OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND AD.]UDGED that in accordance with the Agreed Order Of
Dismissal With Prcjudice entered on July 6, 2005, this cause is hereby dismissed With prej udice.

 

THOMAS M. GOULD

Clerk of Court

C' §§ §

(By) Deputy Clerk

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:02-CV-01204 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

